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 8
 9                         UNITED STATES DISTRICT COURT
10            CENTRAL DISTRICT OF CALIFORNIA — WESTERN DIVISION
11
12 MICHAEL MANSHOORY and                      CASE NO.: 2:17-cv-6714 SVW(MRWx)
   MIKE MANSHOORY,
13                                          (Removed from Los Angeles County
               Plaintiffs,                   Superior Court Case No. BC659656)
14
               vs.                           DEFENDANT BMW OF NORTH
15                                           AMERICA LLC'S PRE-TRIAL
   BMW OF NORTH AMERICA,                     DISCLOSURES
16 LLC,a Delaware Limited Liability          [FED. R. CIV. P. 26(a)(1)(3)]
   Company,
17
                   Defendant.
18                                           Action Filed:     April 28, 2017
                                             Trial:            April 17, 2017
19
20             TO PLAINTIFFS AND THEIR ATTORNEYS OF RECORD:
21             Pursuant to Rule 26(a)(1)(3) of the Federal Rules of Civil Procedure,
22 Defendant BMW of North America,LLC("BMW NA")hereby makes the following
23 Pre-Trial Disclosures:
24 / //
25 / //
26 / / /
27 / / /
28 / / /



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 1                                PRE-TRIAL DISCLOSURES
 2       A.      The name and, if not previously provided, the address and telephone
   number of each witness -separately identifying those the party expects to present
 3 and those it may call ifthe need arises:
 4             Will Call:
 5             1.    Mike Manshoory, Plaintiff. Subjects of information: Plaintiffs' visits to
 6 the dealerships and any independent repair facilities, the concerns and repairs listed
 7 in the repair orders, the cause of the various alleged non-conformities, any repairs
 8 not covered under warranty, any communications with BMW NA, or its authorized
 9 service centers, and circumstances surrounding the purchase of a used 2014 BMW
10 650i, VIN WBAYP9C52ED16924("Subject Vehicle").
11             2.    Michael Manshoory,Plaintiff. Subjects of information: Plaintiffs' visits
12 to the dealerships and any independent repair facilities, the concerns and repairs
13 listed in the repair orders, the cause of the various alleged non-conformities, any
14 repairs not covered under warranty, any communications with BMW NA, or its
15     authorized service centers, and circumstances surrounding the purchase of the
16 Subject Vehicle.
17             3.    Jose Conde, Customer Service Specialist BMW NA, do Bowman and
18 Brooke, LLP, 970 West 190th Street, Suite 700, Torrance, CA 90502. Subjects of
19 information: Plaintiffs' concerns and repairs listed in the repair orders, the efforts
20 made to repair them, the operation of the subject vehicle, BMW NA's investigation
21     into and response to Plaintiffs' concerns and responses to request for repurchase the
22 Subject Vehicle.
23             4.    Luis Holguin, Defense Expert
24             Will Call if Need Arises:
25             5.    John Atencio, Technician, Beverly Hill BMW, 5151 Wilshire Blvd.,
26 Los Angeles, CA 90036. Subjects of information: Plaintiffs' concerns and repairs
27 listed in the repair orders, the efforts made to repair them, and the operation of the
28 subject vehicle.



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 1           6.     Jeffrey Baker, Service Advisor, Beverly Hill BMW, 5151 Wilshire
 2 Blvd., Los Angeles, CA 90036. Subjects of information: Plaintiffs' concerns and
 3 repairs listed in the repair orders, the efforts made to repair them, and the operation
 4 ofthe subject vehicle.
 5           7.     Jaques Riley, Service Advisor, Beverly Hill BMW, 5151 Wilshire
 6 Blvd., Los Angeles, CA 90036. Subjects of information: Plaintiffs' concerns and
 7 repairs listed in the repair orders, the efforts made to repair them, and the operation
 8 ofthe subject vehicle.
 9           8.     Dung Trinh, Service Advisor, Beverly Hill BMW, 5151 Wilshire
10 Blvd., Los Angeles, CA 90036. Subjects of information: Plaintiffs' concerns and
11   repairs listed in the repair orders, the efforts made to repair them, and the operation
12 ofthe subject vehicle.
13           9.     Lemuel Martinez, Service Advisor, Beverly Hill BMW,5151 Wilshire
14 Blvd., Los Angeles, CA 90036. Subjects of information: Plaintiffs' concerns and
15 repairs listed in the repair orders, the efforts made to repair them, and the operation
16 ofthe subject vehicle.
17           10.    Robert Pourian, Service Advisor, Beverly Hill BMW, 5151 Wilshire
18 Blvd., Los Angeles, CA 90036. Subjects of information: Plaintiffs' concerns and
19 repairs listed in the repair orders, the efforts made to repair them, and the operation
20 ofthe subject vehicle.
21           1 1.   Christian Taggart, Technician, Beverly Hill BMW, 5151 Wilshire
22 Blvd., Los Angeles, CA 90036. Subjects of information: Plaintiffs' concerns and
23 repairs listed in the repair orders, the efforts made to repair them, and the operation
24 ofthe subject vehicle.
25           12.    Kiray Huynh, Technician, Beverly Hill BMW, 5151 Wilshire Blvd.,
26 Los Angeles, CA 90036. Subjects of information: Plaintiffs' concerns and repairs
27 listed in the repair orders, the efforts made to repair them, and the operation of the
28 subject vehicle.



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 1           13.   Sergion Lomeli, Technician, Beverly Hill BMW,5151 Wilshire Blvd.,
 2 Los Angeles, CA 90036. Subjects of information: Plaintiffs' concerns and repairs
 3 listed in the repair orders, the efforts made to repair them, and the operation of the
 4 subject vehicle.
 5           14.   Glenn Talley,Technician Beverly Hills BMW, 5151 Wilshire Blvd.,
 6 Los Angeles, CA 90036. Subjects of information: Plaintiffs' concerns and repairs
 7 listed in the repair orders, the efforts made to repair them, and the operation of the
 8 subject vehicle.
 9           15.   Joe Villanueva, Beverly Hill BMW,5151 Wilshire Blvd., Los Angeles,
10 CA 90036. Subjects of information: Plaintiffs' concerns and repairs listed in the
11   repair orders, the efforts made to repair them, and the operation of the subject
12 vehicle.
13            16. Mario Fuentes, Beverly Hill BMW,5151 Wilshire Blvd., Los Angeles,
14 CA 90036. Subjects of information: Plaintiffs' concerns and repairs listed in the
15 repair orders, the efforts made to repair them, and the operation of the subject
16 vehicle.
17            17. Ryan Frazier, Beverly Hill BMW,5151 Wilshire Blvd., Los Angeles,
18 CA 90036. Subjects of information: Plaintiffs' concerns and repairs listed in the
19 repair orders, the efforts made to repair them, and the operation of the subject
20 vehicle.
21            18. Robert Chidiac, Beverly Hill BMW Person Most Knowledgeable, 5151
22 Wilshire Blvd, Los Angele, CA 90036. Subjects of information: Beverly Hills
23 BMW's policies and procedures regarding inspection, diagnosis, and/or repair of
24 customer concerns and repeat visits, Plaintiffs' visits to the dealership, the concerns
25   and repairs listed in the repair orders, and the efforts made to repair them.
26            19. Jacob Bratt- Bevery Hills BMW Service Advisor Service Advisor-
27 Inspection ofthe Subject Vehicle post Lease Return .
28 // /



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 1           Any persons identified by any other party in their initial disclosures or in
 2 discovery.      Subject of Information: As stated in the disclosures or discovery.
 3 Further, BMW NA reserves the right to supplement or amend this response if, and
 4 when, more information becomes available.
 5           B. Designation of those witnesses whose testimony the party expects to
               present by deposition and ifnot taken stenographically, a transcript ofthe
 6             pertinentparts ofthe deposition;
 7            None.
 8       C.    An identification of each documents or other exhibit, including
   summaries ofother evidence-separation identifying those items the party expects to
 9 odder and those may offer ifthe need arises.:
10       1.    The Subject Vehicle. Location: Plaintiffs' residence, or as specified in
11   Plaintiffs' initial disclosures.
12           2.    BMW Financial Services — Lease Agreement, dated December 15,
13 23013.          Location: Produced     to   Plaintiffs   on   7/17/17.    Bates   No.
14 MANSHOORY000244- MANSHOORY000247.
15           3.    The Service and Warranty Information Booklet for the Subject Vehicle.
16 Location: Produced to Plaintiffs on 7/17/17. Bates No. MANSHOORY000282-
17 MANSHOORY000286.
18           4.    The Owner's Manual for the subject vehicle. Location: Produced to
19 Plaintiffs on 7/17/17. Bates No. MANSHOORY000001- MANSHOORY000243.
20           5.    Customer Relations file, including Warranty Vehicle Inquiry Service
21   Request Detail applicable to the Subject Vehicle. Location: Produced to Plaintiffs
22 on 7/17/17. Bates No. MANSHOORY000248- MANSHOORY000262.
23           6.    Customer Care Specialist File, including Service History Recap
24 applicable to the Subject Vehicle. Location: Produced to Plaintiffs on 7/7/17. Bates
25   No. MANSHOORY000287- MANSHOORY000394.
26           7.    Service Information Bulletin Nos. SIB 01 12 16, SIB 11 03 08, SIB 11
27   12 16, SIB 12 19 13, SIB 16 03 12, SIB 31 01 12, SIB 31 01 12, SIB 34 06 13,
28 / / /



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 1   SIB 61 30 14, and SIB 84 07 15. Location: Produced to Plaintiffs on 7/17/17.
 2 Bates No. MANSHOORY000358- MANSHOORY000389.
 3           8.     PuMA Case No. 63014708. Location: Produced to Plaintiffs on
4 7/17/17. Bates No. MANSHOORY000390- MANSHOORY000393.
 5           9.     California Department of Consumer Affairs Notice of Approval of
6 BMW NA's Arbitration Certification Program. Location: Produced to Plaintiffs on
7 7/17/17. Bates No. MANSHOORY000396.
8            10.    Certificate of Certified Status for BMW of North America, LLC dated
9 June 21, 2017. Location: Produced to Plaintiffs on 7/17/17.                  Bates No.
10 MANSHOORY000395.
11           1 1.   Subject Vehicle Repair records in BMW NA's possession. Location:
12 Produced to Plaintiffs on 7/17/17.              Bates No. MANSHOORY000248-
13   MANSHOORY000261.
14           12.    Beverly Hills BMW Service File.
15           13.    Lease End Inspection Form for the return ofthe Subject Vehicle
16           14.    Article re Michael Manshoory Arrest dated Mary 17, 2015.
17           15.    Luis Holguin Expert Report and Expert Material.
18           Any documents produced by any other party in their initial disclosures or in
19 discovery. Location: Plaintiffs' counsel and Defendant's counsel.
20 DATED: March 16, 2017                           BOWMAN AND BROOKE LLP
21
22                                           BY:    /s/Corinne D. Orquiola
                                                   Brian Takahashi
23                                                 Richard L. Stuhlbarg
                                                   Corinne D. Orquiola
24                                                 Attorneys for Defendant
                                                   BMW OF NORTH AMERICA,LLC
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 1                             CERTIFICATE OF SERVICE
 2           I hereby certify that on March 12, 2018, I filed the foregoing document
 3 entitled DEFENDANT BMW OF NORTH AMERICA, LLC'S PRE-TRIAL
4 DISCLOSURES with the clerk of court using the CM/ECF system, which will
 5   send a notice of electronic filing to all counsel of record in this action.
6                                                 /s/Corinne D. Orquiola
 7                                               Corinne D. Orquiola

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